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     Federal Defender
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     Assistant Federal Defenders
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 6   Attorneys for Defendant
     MARLENE MEDINA
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:17-cr-0010-LJO
                                                  )
12                     Plaintiff,                 )   STIPULATION TO VACATE STATUS
                                                  )   CONFERENCE AND SET CHANGE OF PLEA;
13    vs.                                         )   ORDER
                                                  )
14    MARLENE MEDINA,                             )   Date: March 26, 2018
                                                  )   Time: 9:30 a.m.
15                     Defendant.                 )   Judge: Hon. Lawrence J. O’Neill
                                                  )
16                                                )

17
18          IT IS HEREBY STIPULATED by and between the parties through their respective
19   counsel, Assistant United States Attorney, Brian Delaney, counsel for the plaintiff, and Assistant

20   Federal Defender, Megan T. Hopkins, counsel for defendant, Marlene Medina, that the matter be
21   set for a change of plea hearing on March 26, 2018, at 9:30 a.m., before the Honorable Lawrence
22   J. O’Neill. The parties further stipulate that the status conference currently scheduled for March
23   19, 2018, at 1:00 p.m. may be vacated. The parties have reached a resolution in this case and a
24   plea agreement has been filed with the court.
25          The parties agree that the delay resulting from the continuance shall be excluded in the

26   interests of justice, including but not limited to, the need for the period of time set forth herein
27   for effective defense preparation, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)
28   and (iv).
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 1             Time has previously been excluded under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,

 2   through the March 26, 2018 status conference for inter alia defense trial preparation.

 3
 4                                                 Respectfully submitted,

 5                                                 MCGREGOR W. SCOTT
                                                   United States Attorney
 6
 7   Date: March 14, 2018                          /s/ Brian Delaney
                                                   BRIAN DELANEY
 8                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
 9
10                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
11
12   Date: March 14, 2018                          /s/ Megan T. Hopkins
                                                   MEGAN T. HOPKINS
13                                                 Assistant Federal Defender
                                                   Attorney for Defendant
14                                                 Marlene Medina

15
16                                               ORDER

17             IT IS SO ORDERED.

18
19
     Dated:        March 15, 2018                           /s/ Lawrence J. O’Neill _____
20                                                 UNITED STATES CHIEF DISTRICT JUDGE
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23
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27
28

     fffMEDINA / Stipulation to Vacate S/C and       -2-
       Set Change of Plea
